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 7
                         UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
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12   NEMAN BROTHERS & ASSOC.,                 Case No.: 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation;
14                                            EVIDENTIARY OBJECTION TO
               Plaintiff/Counter-Defendant,
15                                            DECLARATION OF WEIWEI LE
               vs.
16                                            (Dkt 46-1)

17   INTERFOCUS, INC., a California
     Corporation, et al.,
18              Defendant/Counter-Claimant    Date: August 23, 2021
                                              Time: 10 a.m.
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              EVIDENTIARY OBJECTION TO DECLARATION OF WEIWEI LE (Dkt 46-1)
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 1                               EVIDENTIARY OBJECTIONS
 2
 3     MATERIAL OBJECTED TO                   GROUNDS FOR OBJECTION                  COURT’
 4                                                                                       S
 5                                                                                   RULING
 6   2. … Among the products it sells        Lack of foundation, speculation and
 7   are garments it purchases from          hearsay (Le provides no evidence or     Sustained:
 8   third party vendors in China, who       basis for stating “purchased from the ____
 9   manufacture them with fabrics           open market. Le provides no
10
     purchased on the open market from business records, no explanation as
11                                       to how she concluded so, and no             Overruled:
     fabric manufacturers in China.
12                                       explanation as to who told her so.          ____
     InterFocus does not know who
13                                       Le in fact admits she does not know
     those fabric manufacturers are, but
14                                       who sold the fabrics to Interfocus’
     it has no desire to infringe
15                                       vendors.)
     anyone’s copyrights in connection
16
     with such sales, so, among other
17                                           Lack of foundation, a document
     things, it requires its vendors from
18                                           speaks for itself (Le claims there is
19   whom it purchases such garments
                                             an agreement with vendors in
20   to agree in writing that its products   writing without producing a copy at
21   do not infringe anyone else’s           all.)
22   copyrights. InterFocus does not
23   knowingly sell merchandise that         Lack of foundation, irrelevant (Le
24   infringes others’ rights.               fails to explain why Interfocus
25                                           started selling the same garments
26                                           bearing the exact same infringing
27                                           designs, especially the Infringing
28                                           Garments 1 and 2, again, shortly


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 1                                         after the execution of the settlement
 2                                         in the prior case regarding the same
 3                                         designs. With no real explanation
 4                                         about it, simply claiming no desire
 5                                         or no knowledge bears no probative
 6                                         value or foundation.)
 7   3. There are many fabric              Irrelevant (the U.S. Copyrights Act
 8   manufacturers in China, and           protects expressions, not idea.         Sustained:
 9   many third-party vendors who          Neman is not blaming Interfocus for ____
10   manufacture garments using            using the design with the same idea
11                                         of drawing flowers, but exactly the
     fabrics obtained from those
12                                         same expressions (objective details,    Overruled:
     garment manufacturers. Many
13                                         arrangements, location, direction,      ____
     fabric manufacturers offer
14                                         shading) of describing such flowers,
     similar floral, paisley, and other
15                                         stems and leaves, in most parts, if
     patterns to garment
16                                         not all. Having many other designs
     manufacturers. I [or InterFocus]
17                                         drawing flowers has no probative
     have asked the vendors from
18                                         value in this case at all.)
     whom we purchased garments
19
20
     that Neman Brothers claims
                                           Irrelevant (Le admits she only asked
21   infringe its rights to identify the   for “similar fabric designs”. Unless
22   fabric manufacturers from who         they are preexisting or
23   they acquired the fabric used on      independently created, it bears no
24   the allegedly infringing goods,       probative value as to the issue of
25   and also asked them to provide        rebutting the presumed ownership
26   us with examples of similar           and validity of the copyrights per
27   fabric designs they received          copyright registration.)
28   from someone other than


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 1   Neman Brothers. They have             Hearsay, lack of foundation, vague
 2   told InterFocus they will             (the claimed communication with
 3   provide such information and          the vendors are nothing but hearsay
 4   those materials, but have not yet     exchanged in anticipation, or in the
 5
     done so. We continue to               middle, of this litigation. Le
 6                                         provides no explanation about
     encourage them to provide us
 7                                         exactly what she asked for, when
     with that information and
 8                                         and how she asked, why vendors did
     exemplar designs, but we have
 9                                         not provide, how much more time
     no way to compel them to do
10                                         she would have to wait. Le only
     so.
11                                         vague states she asked for merely
12                                         similar designs (not preexisting or
13                                         independently created) and would
14                                         have to wait. Le also remains vague
15                                         in claiming the vendors said they
16                                         “will” provide, without explaining
17                                         whether the vendors already had it
18                                         or at least where it is, or whether
19                                         they simply meant they will provide
20                                         if they find it.)
21   4. In reviewing my earlier            Sham Affidavit, hearsay, lack of
22   declaration to prepare this one, I    foundation, Prior Inconsistent         Sustained:
23   discovered one typographical error    statements twice (“The general rule    ____
24   I would like to correct. A chart at   in the Ninth Circuit is that a party
25   paragraph 14 shows that a garment     cannot create an issue of fact by an
26   identified by ID No. 399267 was       affidavit contradicting his prior      Overruled:
27   taken down from InterFocus’           testimony.” Asdale v. International    ____
28   online platform on 9/14/2020. That    Game Technology, 577 F.3d 989,


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 1   is in error. In fact, as stated in     998 (9th Cir. 2009). Interfocus in its
 2   paragraph 10 of that same              letter (Dkt 42-35, Plaintiff’s Ex. 33)
 3   declaration, the referenced garment    admitted it continued to sell the
 4   was taken down before InterFocus       baby dress (399267). Le in her own
 5   entered into its previous settlement   declaration (Dkt 35-1, ⁋14) re-
 6   agreement with Neman Brothers.         affirmed it. Only after Neman points
 7   The correct date that should have      out the issue in its motion, Le at a
 8   been included on the chart is          sudden make a conclusory statement
 9   9/14/2019. I apologize for that        they were mistakes, with no
10   error.                                 explanation or basis as to why and
11                                          how those so-called mistakes were
12                                          made twice, and how Le know it
13                                          was taken down on “9/14/2019”.
14                                          With no proper business records, it
15                                          is only a hearsay that also
16                                          completely lacks foundation.)
17   5. After suit was filed herein,        Hearsay, lack of foundation, a
18   InterFocus examined its business       document speaks for itself. (Le with     Sustained:
19   records to determine how much          no business records or explanations      ____
20   money it made selling the garments in reasonable details, merely states
21   Neman Brothers has claimed             she examined the business records
22   infringe its copyright. InterFocus     and concluded the profit was less        Overruled:
23   has determined that it earned less     than $1,000. Throughout the              ____
24   than $1000 in profits from such        discovery, in spite of the requests,
25   sales.                                 Interfocus never produced the so-
26                                          called business records Le admitted
27                                          she had and reviewed. Jeong Decl.
28                                          (Dkt 42-2, ⁋42))


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 1       IT IS SO ORDERED.
 2       DATED:
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                                       __________________________________
 4                                     Honorable Judge Christina A. Snyder
                                       United States District Court
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